Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 1 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 2 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 3 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 4 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 5 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 6 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 7 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 8 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 9 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 10 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 11 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 12 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 13 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 14 of 15
Case 18-32124   Doc 14   Filed 11/21/18 Entered 11/21/18 11:55:49   Desc Main
                          Document     Page 15 of 15
